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                       RECOMMENDATION TERMINATING
                SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA                     )
                                             )
                             vs.             )       Docket Number: 2:03CR00049-02
                                             )
Orlando Francisco TORRES                     )
                                             )


LEGAL HISTORY:

On August 20, 2003, the above-named was sentenced to 21 months custody in the Bureau
of Prisons to be followed by a term of Supervised Release for a period of 3 years, which
commenced on November 18, 2004. Special conditions included: Warrantless search;
Financial disclosure; Drug/alcohol testing/treatment program; and Co-payment for
treatment program/testing.


SUMMARY OF COMPLIANCE:

Mr. Torres has complied with all conditions and special conditions of Supervised Release,
and has not been involved in any further criminal activities. It is the opinion of the probation
officer that Orlando Francisco Torres has derived maximum benefit from supervision and
is not in need of continued supervision.




                                                                                         Rev. 04/2007
                                                 1          EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Orlando Francisco TORRES
         Docket Number: 2:03CR00049-02
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                        Respectfully submitted,


                                       /s/ George A. Vidales
                                      GEORGE A. VIDALES
                                  United States Probation Officer


Dated:           10/11/2007
                 Elk Grove, California
                 GAV/cj



REVIEWED BY:               /s/ Deborah A. Spencer
                         DEBORAH A. SPENCER
                         Supervising United States Probation Officer


cc:      AUSA to be assigned (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recommendation
         and Prob35-Order Terminating Supervised Release Prior to Expiration Date, will be submitted to the
         Court for approval.)




                                                                                                  Rev. 04/2007
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PROB 35             ORDER TERMINATING SUPERVISED RELEASE
                          PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                         )
                                                 )
                           vs.                   )     Docket Number: 2:03CR00049-02
                                                 )
Orlando Francisco TORRES                         )
                                                 )


On November 18, 2004, the above-named was placed on Supervised Release for a period
of 3 years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                  Respectfully submitted,


                                 /s/ George A. Vidales
                                 GEORGE A. VIDALES
                            United States Probation Officer

Dated:       October 11, 2007
             Elk Grove, California
             GAV/cj


REVIEWED BY:        /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer




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                                             3               EARLY TERMINATION ~ ORDER (PROB35).MRG
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RE:   Orlando Francisco TORRES
      Docket Number: 2:03CR00049-02
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

Date: October 30, 2007




GAV/cj
Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                        Rev. 05/2006
                                            4               EARLY TERMINATION ~ ORDER (PROB35).MRG
